IN R.E:

 

CaSeZO4-12227-.]SD [.-'¢218 Filed:lO/29/04 Entered:lO@OA, OOZOOZOO Page:l Of2

UNITED S'I`ATES BAN`KRUP'I'CY COU'RT
SOUTHERN' DIST`RICT OF` GEORGIA

 

PAGE i
ELEANOR JEAN HAMIL'LON CASE NG. `_ w REEORT PRINTED 10/27/04
1060 EARLE STREE:T Nw 0412227 ' " ` "
THOMSON, GA 30324-0000

FINAL REPORT AND ACCOUNT ss #1= Xxx¢xx¢.=)§vs , ~

DISMIssl-:D BEFORE CONFIRMATION SS #2= xxX-xX-oooo _
PLAN FILED DA'I'E= Jun 30, 2004 PLAN CONE'IRMED: CASE CONCLUDED: Oct 21, 2004 ' ‘_ mg
ATTORNEY JOHN 1= wILLS ;; `

Your Trust,ee hereby certifies that this case has been fully administered, that a detailed record of all
receipts and disbursements has been maintained,- copies are attached to the original filed with the Clerk

and incorporated by reference in this report.

RECEIPTS: Amount paid to the Truetee by or for the Debtc>r for benefit of Credi tore . _ 00
CREDITOR CLM CLASS CLAIM DEB'I' TOTAL BALANCE
NAME # AMOUNT ALLOWBD PAID DUE

W S BADCOCK CORP 001 SEC 709.07 709.07 .00 709.0'7
BELLSOU'I'H 002 UN'S 455.'74 455.74 .00 455_74
BE!LLSOU'I‘H 003 U'NS 288.92 288.92 .00 288.92
LIGH'I`YEAR NETWORK SOLUTIONS 004 UNS 439 . 74 48 9 . 74 . 00 439 . 74
SECU'RITY FINANCIAL SERV 005 UNS 250.00 250.00 .00 250.00
PALISADES COLLECTION 006 UNS 251.97 291.97 .00 291.9'."
PALISADES COLLEC'I`ION 007 UNS 606.51 606.61 .00 606.61
HEILIG MEYERS MASTER TRUST 008 U'NS 345.92 345.92 .OO 345.92
PREMIER BANKCA.R_D CHARTER 009 UNS 540.22 840.22 .00 340.22
CLERK OF U S BAN'KRUPTCY COUR 991 FFE 154.00 154.00 .OO 154.00
C'LERK U S BANKRUPTCY COURT 994 ADM .OO . 00 .0(} . 00
JOHIN P WILLS 999 ATY 300.00 300.00 .00 300.00
CH.AP"I`ER 13 TRUSTEE FEE TRU 249.05 .00 249.06

JOHN P WILLS

ATTORNEY AT LAW

P 0 BOX 1520

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SECURED PRIORI'I'Y U'N'SEC'U'RED A.DMIN ATTY OTHER
DEBT 709.07 .00 3569.12 154.00 300.00 .00 TOTAL PAID
PAID .00 .00 .00 .00 .00 .00 .OO

WHEREF`ORE, your Petitioner prays that a F‘inal Decree be centered discharging your petitioner as Trust.ee and
releasing ’I'rustee's surety from all liability on account of the proceedings; closing the estate, and for such other

relief as is just.

* Paid. by Insurance

 

 

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Ba.rnee C . Bax… §

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